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   GHWDLOHGDQGSHUVRQDOL]HGUHVSRQVHVWRFODVVPHPEHUV¶LQTXLULHVRQWKLVFDVHDQGFRQWLQXHVWRGRVR
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Case 4:23-cv-01593-CW   Document 253-2   Filed 12/17/24   Page 9 of 82




    EXHIBIT A
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                                           EXHIBIT A

                                     Winston & Strawn LLP

                       LODESTAR TOTALS AT CURRENT RATES
                           Inception through December 9, 2024

   Timekeeper             Position           Current        Total     Lodestar at Current
                                           Hourly Rate      Hours            Rates
Abe, Machi            Review Attorney      $75.00         69.8       $5,235.00
Alexander, Zach       Associate            $775.00        25.3       $19,607.50
Arguello, Sofia       Partner              $1,315.00      152.2      $200,143.00
Bernard, Melissa      Review Attorney      $95.00         5.7        $541.50
Blake, Joey           Associate            $980.00        28.7       $28,126.00
Blomquist, Kristin    Review Attorney      $115.00        2          $230.00
Carll, Jonathan       Review Attorney      $75.00         68.9       $5,167.50
Cummings,             Associate            $835.00        8.5        $7,097.50
Quinlan
Dale, Adam            Partner              $1,265.00      313.4      $396,451.00
DalSanto, Matthew     Partner              $1,290.00      23.3       $30,057.00
Divino, Nim           Senior Litigation    $205.00        3          $615.00
                      Support Specialist
Dunkley, Hugh         Associate            $835.00        20.2       $16,867.00
Faulkner, Ryan        Associate            $695.00        5.5        $3,822.50
Greenspan, David      Partner              $1,540.00      166        $255,640.00
Kats, Ilya            eDiscovery           $295.00        3          $885.00
Kessler, Jeffrey      Partner              $1,980.00      163        $322,740.00
King, Andrew          Associate            $775.00        27.6       $21,390.00
Knight, Blake         Review Attorney      $75.00         70.3       $5,272.50
Koulikov, Mikhail     Research Analyst     $245.00        3          $735.00
Kyritsopoulos,        Senior Paralegal     $400.00        79.1       $31,640.00
Corinne
Lerner, Lane          Docket Attorney      $590.00        0.6        $354.00
Lowe, Jolie           Project Assistant    $240.00        20.5       $4,920.00
Mantel, Matthew       Research Analyst     $245.00        2.4        $588.00
Martinez, Lindsay     Paralegal            $240.00        3          $720.00
Nagel, Scott          Review Attorney      $75.00         76.6       $5,745.00
Neptune, Kharyne      Review Attorney      $85.00         96         $8,160.00
Nguyen, Tessa         Data Analyst         $430.00        37         $15,910.00
Otten, Shane          Economics            $530.00        30.4       $16,112.00
                      Advisor
Pannullo, Robert      Associate            $980.00        627.8      $615,244.00
Parsigian, Jeanifer   Partner              $1,295.00      562.5      $728,437.50
Parsons, Molly        Review Attorney      $75.00         79.5       $5,962.50
Richard, Mark         Review Attorney      $75.00         75.7       $5,677.50

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Robinson, Tanya      WLS Manager        $150.00      1.5        $225.00
Rosario, Rick        Senior Paralegal   $400.00      0.3        $120.00
Ross, Matthew        Review Attorney    $75.00       61.3       $4,597.50
Rutledge, Madeline   Associate          $695.00      4.8        $3,336.00
Sherman, Scott       Associate          $1,190.00    36.4       $43,316.00
Sloan, Nick          Associate          $775.00      652.7      $505,842.50
Steeg, Aaron         Associate          $890.00      46.6       $41,474.00
Thompson,            Trial Support      $225.00      0.5        $112.50
Michael              Specialist
Vaidya, Tushar       eDiscovery         $635.00      1.4        $889.00
Viebrock, Sarah      Associate          $1,220.00    4.4        $5,104.00
Vyas, Neha           Associate          $980.00      52.1       $51,058.00
Wesclitz, Stephen    Senior Research    $255.00      2.8        $714.00
                     Analyst
Williams, Whitney    Associate          $940.00      247.2      $232,368.00
TOTAL                                                3,962.50   $3,649,250.00




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     EXHIBIT B
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                                  EXHIBIT B

                    LODESTAR SUMMARY – ALL FIRMS

                       Inception through December 9, 2024

             Firm                  Hours               Lodestar at Current Rates
Winston & Strawn LLP        3,962.50                $3,649,250.00
Hagens Berman Sobol Shapiro 2,015.20                $1,143,820.00
LLP
TOTAL                       5,977.70                $4,793,070.00
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     EXHIBIT C
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                                        EXHIBIT C

                                  Winston & Strawn LLP

                                   EXPENSE REPORT
                            Inception through December 9, 2024


                  CATEGORY                                       AMOUNT
Travel (Airfare, Hotels, Long-Distance Travel)   $7,033.60
Telecommunication Services                       $39.95
Copying Costs                                    $9,661.92
Computerized Legal Research and ECF/PACER        $35,989.20
Meals                                            $1,421.64
Service of Process and Messenger/Courier         $117.00
Professional Services                            $324.87
Shipping and Mailing                             $49.46
Local Transportation                             $1,705.95
Court Costs                                      $1,279.00
TOTAL                                            $57,622.59
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     EXHIBIT D
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                              EXHIBIT D

                 INTERNAL EXPENSES – ALL FIRMS

                    Inception through December 9, 2024


                 Firm                              Expenses
   Winston & Strawn LLP               $57,622.59
   Hagens Berman Sobol Shapiro LLP    $4,971.59
   TOTAL                              $62,594.18
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     EXHIBIT E
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                                       EXHIBIT E

                                   Winston & Strawn LLP

                 Summary of Attorney Hours by Litigation Activity Type
                         Inception through December 9, 2024

    LITIGATION ACTIVITY                ATTORNEY HOURS                LODESTAR
Investigation and Fact Discovery    63.2                      $65,898.50
Written Discovery                   297.4                     $334,590.50
Document Review                     926.7                     $327,623.50
Motion                              1,654.6                   $1,845,207.00
Expert                              445.9                     $455,382.00
Deposition                          144.1                     $142,544.00
Client and Class Communications     18.7                      $22,652.50
Settlement                          326.8                     $424,350.00
File Maintenance                    85.1                      $31,002.00
TOTAL                               3962.5                    $3,649,250.00
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              EXHIBIT )
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OVERVIEW


Antitrust/Competition
2024




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Antitrust/Competition Snapshot

                                                                 120+
ATTORNEYS BY OFFICE

CHICAGO 32
                                 NEW YORK

                                 CHARLOTTE
                                                  56
                                 WASHINGTON, D.C. 14
                                                  1        ANTITRUST/COMPETITION
                                                                                               40+
                                                                                         GLOBAL CARTEL ATTORNEYS
                                                                 ATTORNEYS
                                   LONDON   6




                                                        PRACTICE GROUP LEADERS
                     MIAMI   1
                                                                  EVA W. COLE
                                                                  PARTNER
SAN FRANCISCO   7                                                 New York
LOS ANGELES     5                                                 +1 (212) 294-4609
                                                                  ewcole@winston.com


                       DALLAS  6
                       HOUSTON 4                                  JAMES HERBISON
                                                                  PARTNER
                                                                  Chicago
                                                                  +1 (312) 558-5909
                                                                  jherbiso@winston.com


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Why Winston for Antitrust/Competition?

                                                            MANY LONG-TIME
A TEAM WITH CENTURIES OF
                                  WINSTON “IS A             CLIENTS IN THE
COLLECTIVE EXPERIENCE IN
                                  POWERHOUSE IN             CONSUMER GOODS,
ANTITRUST ENFORCEMENT,
                                  ANTITRUST”                HEALTH CARE, FINANCIAL
INVESTIGATIONS, LITIGATION,
                                  CHAMBERS USA              SERVICES, HEAVY
AND MERGER MATTERS
                                                            INDUSTRY SECTORS

                               KNOWN FOR CAPABILITIES REPRESENTING:
2023 ANTITRUST                   DEFENDANTS IN NEARLY 40 GLOBAL CARTEL MATTERS
PRACTICE OF THE YEAR             PARTIES IN HIGH-STAKES ANTITRUST LITIGATION
BEST LAW FIRMS®
                                 CLIENTS IN ANTITRUST TRANSACTIONAL MATTERS,
                                  INCLUDING MERGER REVIEWS AND CHALLENGES



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What We Do

         ANTITRUST/COMPETITION TEAM’S EXPERIENCE COVERS

                                           GLOBAL CARTEL       DOJ, FTC, AND STATE
   ADVISORY &
                        APPEALS           INVESTIGATIONS &     AG INVESTIGATIONS &
   COUNSELING
                                            ENFORCEMENT           ENFORCEMENT


                        INTERNAL          MERGER FILINGS,          MONOPOLY
 CRIMINAL DEFENSE
                     INVESTIGATIONS    REVIEWS & CHALLENGES        LITIGATION


   TECHNOLOGY                                                     VENDOR AND
                      TRADE GROUP       UNFAIR COMPETITION
    ANTITRUST                                                     DISTRIBUTION
                        ADVISORY            LITIGATION
    LITIGATION                                                    AGREEMENTS




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Unique Perspective: Law and Economics Group
Our internal economics and analytics resource is a strategic differentiator among law firms,
offering clients enhanced benefits in creating effective defense strategies compared to
outside consultants.

                                    COMPOUNDING BENEFIT OF              REIGN IN EXPERTS FROM
   SEAMLESS INTEGRATION
                                    IN-HOUSE COLLABORATION              “FISHING EXPEDITIONS”

                                       WE SEE WHAT EXTERNAL
   WE ARE A PART OF THE TEAM                                          WE BRING A TRIAL LAWYER’S EYE
                                           EXPERTS DON’T




                    ACCESSIBLE REPORTING FOR COURTROOM CONSUMPTION


                       WE ARE HIGHLY SKILLED IN BOTH LEGAL AND ECONOMIC SPEAK



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Unique Perspective: Technology Antitrust Group
Our Technology Antitrust Group (“TAG”) assists clients with navigating the complex, dynamic,
and increasingly government-scrutinized area where technology, antitrust, and IP converge.



            MARKET                                                  PATENT POOLS, PATENT MISUSE,
           DOMINANCE                        TAG                         AND CROSS-LICENSING




                                    TRADE ASSOCIATIONS AND
     M&A, JOINT VENTURES, AND                                          ANTITRUST/COMPETITION
                                STANDARD & CERTIFICATION BODIES
       STRATEGIC ALLIANCES                                           LITIGATION & INVESTIGATIONS
                                          TRADE (SSO)




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Select Cartel Experience
Won complete acquittal on criminal cartel antitrust charges for former DaVita CEO in high-profile labor-market collusion case,
earning Am Law “Litigator of the Week” win


Secured voluntary dismissal of criminal price-fixing charges against Claxton Poultry Farms from DOJ and supported the
defeat of related criminal indictments against two Claxton executives at trial via complete acquittals


Successfully resolved the indirect-purchaser class claims for Panasonic Corp. in In re CRT via favorable settlement, which
was upheld by the Ninth Circuit and denied Supreme Court review in 2022


Secured a major victory with co-counsel and joint defense counsel for a global investment bank and other defendants in
dismissal, with prejudice, of a consolidated antitrust class action


Achieved denial of class certification for all defendants, including clients NTN and JTEKT in the only ruling on class
certification to date in this sprawling MDL – named by GCR as its “Antitrust Litigation of the Year”



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Select Antitrust Litigation Experience
Won landmark trial—affirmed unanimously by Supreme Court—and later negotiated historic settlement of US$2.75B+ in back-
damages in four follow-on antitrust litigations challenging compensation and benefit restrictions placed on college athletes

Successfully defended Hawaiian Electric against Hu Honua Bioenergy’s allegations that Hawaiian Electric’s 2017 power plant
acquisition was part of an anticompetitive scheme to monopolize the firm power generation market in Hawaii. Courts ruled Hu
Honua amendments futile due to statute limitations and lack of antitrust injury.

Secured Fifth Circuit affirmation of dismissal win for Avanci, against claims that the licensing practices of SEP licensor Avanci
and co-defendant SEP owners violated the Sherman Act


Won dismissal, later affirmed on appeal, of a proposed antitrust class action filed against CPM LLC, alleging that its 75-year-
long, US$1.15B concession agreement to operate Chicago’s parking meters violated the Sherman Act and state law


For a major financial institution, secured dismissal of two fintech litigations relating to web-app-related technology, alleging
monopolization, conspiracy, and other claims



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Key Technology Antitrust Matters
Represented Microsoft at trial in connection with the remedy phase of the highly publicized state and federal enforcement
actions alleging that Microsoft abused its monopoly power on Intel-based personal computers by bundling its flagship
Internet Explorer (IE) web-browser software with its Windows operating system

Counseled Panasonic predecessor Matsushita and the DVD 6C pool on the implementation and application of its policies,
including seeking the original Business Review Letter for the DVD 6C pool—the first DOJ-issued letter on such a pool

Obtained complete dismissals with prejudice on behalf of Panasonic in several litigations alleging state and federal antitrust
violations relating to a patent pool for SD Card technology that imposed a market “entry fee” on competitor

Successfully represented plaintiff Metaswitch in a monopolization litigation relating to the abuse of standard-setting process,
false assertions of purported patent rights, sham litigation, and failure to abide by FRAND obligations

Successfully represented RPX, a patent risk-mitigation and portfolio-licensing organization, in antitrust litigation and are
currently counseling and training RPX employees on antitrust issues and risk mitigation

Advised Honda Motor Company and Sony Group Corporation on formation of their Sony Honda Mobility JV, including
completing successful filings

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Select Merger-Related Experience
Represented Chart Industries in connection with its acquisition of UK-based fan manufacturer Howden from KPS Capital
Partners, through an HSR filing (avoiding a Second Request) and multiple foreign filings, resulting in clearance without remedy


Secured major win on appeal for PetIQ in unanimous Ninth Circuit affirmance of the dismissal with prejudice of merger-related
antitrust complaint challenging PetIQ’s acquisition of VIP Petcare


Advised KAR Auction Services, Inc., d/b/a KAR Global, on the competition aspects of its acquisition of Carwave, including
representing it through an FTC review that we resolved without a Second Request


Assisted NorthShore University HealthSystem with its successful acquisitions of Swedish Covenant Hospital, Northwest
Community Hospital, and Edward-Elmhurst Hospitals


Secured antitrust clearance for Upstream Rehabilitation (the third-largest provider of U.S. outpatient PT services) in its
acquisition by Revelstoke Single Asset Fund I, L.P.



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Industries We Serve

      ANTITRUST/COMPETITION EXPERIENCE COVERS MULTIPLE SECTORS

    AUTOMOTIVE/         CONSUMER            CONSUMER
                                                               FINANCIAL SERVICES
     AUTOPARTS         ELECTRONICS      PRODUCTS & SERVICES


      ENERGY &       FOOD, BEVERAGES,      HEALTH CARE &
                                                                 LUXURY GOODS
  INFRASTRUCTURE       & INGREDIENTS       LIFE SCIENCES


  MANUFACTURING &                                                  SPORTS &
                       AGRICULTURE            RETAIL
     INDUSTRY                                                   ENTERTAINMENT




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Key Antitrust Clients

                               DISCOVER FINANCIAL
  ACTIVISION BLIZZARD                                                MOTOROLA SOLUTIONS
                               SERVICES




  CANGREJEROS
                               ENBRIDGE                              NUVEEN INVESTMENTS
  BASEBALL CLUB




                               HAWAIIAN ELECTRIC
  CLAXTON POULTRY                                                    RAPIDUS CORPORATION
                               INDUSTRIES




  DELTA DENTAL
                               HONDA MOTOR CO.                       TREEHOUSE FOODS
  INSURANCE PLANS




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Rankings & Recognitions
BEST LAW FIRMS®                                                 GLOBAL COMPETITION REVIEW
•   2024 Antitrust Law and Antitrust Litigation: Tier 1         •   2023 Highly Recommended (NY, IL), Recommended (CA)
    Nationally, Chicago, New York, Tier 2 – Dallas,             •   Litigation of the Year: Cartel Prosecution (2021) –
    Washington, D.C.                                                Alston v. NCAA; Cartel Defense (2019) – Auto Parts
•   “Lawyer of the Year” – James Herbison, Antitrust Law            Antitrust Litigation
    (2024); Dan Webb, Litigation – Antitrust (2025)
•   2023 Antitrust Practice of the Year                         CHAMBERS USA 2024
                                                                •   Firm ranked in Antitrust – New York, Illinois, Nationwide,
BENCHMARK LITIGATION US                                             Antitrust: Cartel – Nationwide
                                                                •   Five partners ranked in Antirust areas
•   2024 Tier 2 – Antitrust Nationwide
•   2022 National Impact Case of the Year – Alston v. NCAA      LEGAL 500
•   2022 Antitrust Litigator of the Year: East Coast Awards –   •   US 2024 - Firm ranked in Antitrust: Merger Control,
    Jeffrey Kessler                                                 Antitrust: Cartel, Antitrust: Civil Litigation Defense
•   2020 Antitrust Firm of the Year                             •   UK 2025 – Firm ranked in EU and Competition



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What They Say
“I would recommend them to anyone going through a merger or acquisition who
needs a top-notch, smart and well-versed law firm.” “The Winston team is a
collaborative and skillful value-add bonus to our business.”
CHAMBERS USA 2022




“Relentless in their efforts, and peerless industry knowledge and experience;
superior trial advocacy and experience.”
LEGAL 500 US 2022



“Very responsible. Good coordination of HSR professionals and experienced
litigators.”
LEGAL 500 US 2024

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What They Say
“Winston’s antitrust bench is deep and experienced; rather than simply offer
theoretical, ivory tower antitrust insights, their advice is practically offered.”
LEGAL 500 US 2024




“Because of Winston’s outstanding trial practice, their antitrust team is an integrated
one with tremendous antitrust experience combined with outstanding trial and
appellate expertise.”
LEGAL 500 US 2024




“Always bringing creative solutions to our legal/competition issues in the EU and UK.”
LEGAL 500 UK 2024



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Key Attorneys
    EVA COLE                JAMES HERBISON              JEFFREY AMATO                          JONATHAN AMOONA
    CO-CHAIR, ANTITRUST/    CO-CHAIR, ANTITRUST/        PARTNER                                PARTNER
    COMPETITION             COMPETITION                 New York                               New York
    New York                Chicago                     +1 (212) 294-4685                      +1 (212) 294-4745
    +1 (212) 294-4609       +1 (312) 558-5909           jamato@winston.com                     jamoona@winston.com
    ewcole@winston.com      jherbiso@winston.com




    SOFIA ARGUELLO          ALDO BADINI                 DANA COOK-MILLIGAN                     PETER CROWTHER
    PARTNER                 PARTNER                     PARTNER                                PARTNER
    New York                New York                    San Francisco                          London
    +1 (212) 294-5304       +1 (212) 294-4601           +1 (415) 591-1583                      +44 20 7011 8750
    sarguello@winston.com   abadini@winston.com         dlcook@winston.com                     pcrowther@winston.com




    ADAM DALE               MATTHEW DALSANTO            RICHARD FALEK                          DAVID FEHER
    PARTNER                 PARTNER                     PARTNER                                PARTNER
    New York                Chicago                     New York                               New York
    1 212-294-5329          +1 (312) 558-6211           +1 (212) 294-3314                      +1 (212) 294-4613
    adale@winston.com       mdalsanto@winston.com       rfalek@winston.com                     dfeher@winston.com




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Key Attorneys
    KEVIN GOLDSTEIN           DAVID GREENSPAN             JOHANNA RAE                               JEFFREY KESSLER
    PARTNER                   PARTNER                     HUDGENS                                   PARTNER
    Chicago                   New York                    PARTNER                                   New York
    +1 (312) 558-5869         +1 (212) 294-4616           New York                                  +1 (212) 294-4698
    kbgoldstein@winston.com   dgreenspan@winston.com      +1 (212) 294-6734                         jkessler@winston.com
                                                          jhudgens@winston.com




    GEORGE MASTORIS           MIKE MAYER                  THOMAS MELSHEIMER                         JEANIFER PARSIGIAN
    PARTNER                   PARTNER                     PARTNER                                   PARTNER
    New York                  Chicago                     Dallas                                    San Francisco
    +1 (212) 294-4623         +1 (312) 558-7883           +1 (214) 453-6401                         +1 (415) 591-1469
    gmastoris@winston.com     mmayer@winston.com          tmelsheimer@winston.com                   jparsigian@winston.com




    CONOR REIDY               SUSANNAH TORPEY             DAN WEBB                                  LAUREN DUXSTAD
    PARTNER                   PARTNER                     PARTNER                                   OF COUNSEL
    Chicago                   New York                    Chicago                                   Miami
    +1 (312) 558-7542         +1 (212) 294-4690           +1 (312) 558-5856                         +1 (305) 910-0568
    creidy@winston.com        storpey@winston.com         dwebb@winston.com                         lduxstad@winston.com




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                         VISIT WINSTON.COM
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OVERVIEW


Sports Law Practice
2024




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  Sports Law Snapshot
  ATTORNEYS BY OFFICE

CHICAGO 17
                             NEW YORK         39
                             WASHINGTON, D.C. 5                 80+               SPORTS LAW ATTORNEYS



                                     LONDON    5
                                     PARIS     3
                                                              PRACTICE GROUP LEADERS
                                                                       DAVID FEHER                          DAVID GREENSPAN
                                                                       CO-CHAIR, SPORTS                     CO-CHAIR, SPORTS
SAN FRANCISCO   2                                                      PRACTICE                             PRACTICE
LOS ANGELES     5                                                      New York                             New York
                                                                       +1 (212) 294-4613                    +1 (212) 294-4616
                                                                       sfeher@winston.com                   dgreenspan@winston.com
                      DALLAS  7
                      HOUSTON 3                                        JEFFREY KESSLER
                                                                       PRACTICE CHAIR
                                                                       EMERITUS
                                                                       New York
                                                                       +1 (212) 294-4698
                                                                       jkessler@winston.com
                                                                                                    © 2024 Winston & Strawn LLP   2
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Why Winston for Sports Law?

                                 “WINSTON’S SPORTS LAW           KNOWN FOR
SKILLED IN ADVISING ON THE
                                 GROUP IS ONE OF THE             OBTAINING
LARGEST AND HIGHEST-
                                 BEST IN THE BUSINESS.”          HISTORIC,
PROFILE SPORTS FACILITY AND
                                                                 GROUNDBREAKING
STADIUM DEALS IN THE MARKET      CHAMBERS USA 2024
                                                                 TRIAL RESULTS



SPORTS & BETTING
                             EXPERIENCE LITIGATING, ARBITRATING, NEGOTIATING,
PRACTICE GROUP OF THE
                             AND STRUCTURING THE MOST IMPORTANT LEGAL
YEAR (2021–2024)
                             ISSUES IN THE SPORTS SECTOR
LAW360




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What We Do
      SPORTS LAW TEAM’S EXPERIENCE SPANS KEY SECTOR ISSUES

                        PLAYER/TEAM/LEAGUE     EQUAL-PAY AND         SUSPENSION/
 ANTITRUST LITIGATION        CONTRACT        WORKING CONDITIONS      TERMINATION
                           NEGOTIATIONS          LITIGATION          ARBITRATIONS


                                                                    STADIUM PROJECT
                                             COLLEGE SPORTS AND
   NIL AND OTHER IP         ELIGIBILITY                             FINANCINGS AND
                                              BROADCAST RIGHTS
      LITIGATION           ARBITRATIONS                              SPORTS FACILITY
                                                 LITIGATION
                                                                      DEVELOPMENT

                                                COLLECTIVE
       AGENCY
                          DISCRIMINATION        BARGAINING           TEAM/LEAGUE
  REPRESENTATION IN
                             LITIGATION       AGREEMENT (CBA)        ACQUISITIONS
  VARIOUS DISPUTES
                                               NEGOTIATIONS




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Recent Key Sports Litigation Cases
Secured an historic settlement that will pay more than US$2.75B in back-damages to classes of college football and
basketball players, and billions more to current and future college athletes, in their antitrust challenge to the NCAA and its
power conferences’ compensation restraints

For members of the U.S. Women’s National Team (USWNT), secured a landmark settlement and an agreement to provide
equal pay moving forward


Won a unanimous 2nd Circuit victory for Relevent Sports, LLC that revived its antitrust suit challenging a FIFA rule prohibiting
official season professional soccer league games from being played outside of a team/league’s FIFA-designated country


Representing Cangrejeros Baseball Club, LLC and its owner in their antitrust, civil-rights, and tort action against Puerto Rico’s
professional-baseball league and team operators for group boycott


Representing the North American Soccer League (NASL) against the United States Soccer Federation (USSF) and Major
League Soccer (MLS) to assert its antitrust rights against being blocked from a Division I or II sanction


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Key Sports Arbitrations
Represented the NFLPA and then Patriots Quarterback Tom Brady in arbitration and court proceedings challenging his four-
game suspension for his alleged role in the so-called “Deflategate” scandal


As co-counsel, represented Guggenheim Baseball Mgmt. and Magic Johnson in multiple arbitration and mediation sessions
relating to the US$2.15B acquisition of the LA Dodgers


Represented 400m double-amputee runner Oscar Pistorius in the historic CAS arbitration establishing Pistorius’s eligibility to
compete in the Olympics and Int’l Amateur Athletic Federation (IAAF) sanctioned events

Advised each of the NFL, NBA, and MLB players’ unions in unprecedented engagements on each union’s complex and
unique legal and economic issues presented by the return to play in each sport in the midst of the COVID-19 pandemic,
including issues under their collective-bargaining agreements (CBAs), force majeure, and employee rights

Represented professional football club CSKA-Sofia JSC in a Court of Arbitration for Sport (CAS) appeal against the Union of
European Football Associations


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Key Sports Negotiations and Deals
Represented WTA player board members in matters involving the WTA Tour’s structure and operation


Represented Olympic athlete and world-champion sprinter Caster Semenya in her successful negotiation
for Olympic eligibility


Advised three major NFL agents in negotiating their new agency contracts, collectively valued at US$50M+
in guaranteed compensation


For 20+ years, have represented the NFLPA and NBPA in negotiating every CBA for their respective sports


Represented private equity firm General American Capital Partners in its acquisition of League 1 professional soccer
(football) club Les Girondins de Bordeaux



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Key Stadium Finance Projects
Represented institutional investors and lenders in connection with the multi-billion-dollar construction and permanent
financings for SoFi Stadium—a 70,000-seat stadium that serves as home to both the Los Angeles Rams and Los Angeles
Chargers professional football teams

Represented a group of institutional investors in a CND$524M issuance by Oilers Entertainment Group Canada Corp., the
owner of the Edmonton Oilers’ home arena

Represented a group of institutional investors in connection with the development and financing of a renovation of Bankers
Life Fieldhouse in Indianapolis, home of the Indiana Pacers

Represented institutional investors and lenders in connection with a private placement and bank loan to finance Q2 Stadium
in Austin, Texas, a soccer-specific facility that serves as home to Austin FC, an MLS Franchise and the city’s first professional
sports team

Represented a group of institutional investors in connection with the issuance of fixed and floating rate notes, the proceeds
from which were used to fund the completion of Globe Life Field, the home of the Texas Rangers

Represented a group of institutional investors in connection with the €575M private placement of notes to renovate Real
Madrid’s 81,000-seat Santiago Bernabéu Stadium
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Who We Serve

              WE REPRESENT CLIENTS ACROSS THE SPORTS SECTOR

                                             PROFESSIONAL,        STADIUM PROJECT
 MAJOR U.S. PLAYERS    SPORTS FRANCHISES
                                            COLLEGIATE, AND      LENDERS, SPONSORS,
   ASSOCIATIONS           AND LEAGUES
                                           AMATEUR ATHLETES        AND DEVELOPERS

     INTELLECTUAL
                                           SPORTS AGENCIES
       PROPERTY        MEDIA COMPANIES                           GOVERNMENT ENTITIES
                                             AND AGENTS
 LICENSEES/LICENSORS

                                                                 ESPORTS COMPANIES
 COACHES AND TEAMS         SPONSORS        GAMING COMPANIES
                                                                    AND LEAGUES




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Key Sports Law Clients

  ACTIVISION BLIZZARD           KLUTCH SPORTS                     RELEVENT SPORTS




  CANGREJEROS                   NORTH AMERICAN SOCCER
                                                                  TENNESSEE UNIVERSITY
  BASEBALL CLUB                 LEAGUE (NASL)




  GOLTV                         OAK VIEW GROUP                    UNITED TALENT AGENCY




                                PLAYERS ASSOCIATIONS
  JPMORGAN CHASE BANK           (MLBPA, NFLPA,                    WILLIAM MORRIS ENDEAVOR
                                NBPA, WNTPA)



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Rankings & Recognitions
LAW360 – SPORTS & BETTING                                 SPORTS BUSINESS JOURNAL
•   Practice Group of the Year (2021–2023)                •   New Voices Under 30 – Drew Washington (2022),
•   Jeanifer Parsigian – Rising Stars List (2022)             Robert Pannullo (2023)
•   Jeffrey Kessler – MVP List (2020, 2022)
                                                          LEGAL 500 2024
BEST LAW FIRMS® 2024                                      •   U.S. Rankings
•   “Law Firm of the Year” – Sports Law Practice (2018–         •   Sport (Tier 1), Project Finance: Advice to
    2022, 2024)                                                     Lenders, Advice to Sponsors (Tier 3)
•   Tier 1 – Project Finance, Sports Law Nationwide,            •   Five U.S. lawyers recognized (Hall of Fame,
    New York (2024)                                                 Leading Lawyer, Next Generation Partner, and
                                                                    Rising Star)
CHAMBERS USA 2024                                         •   U.K. Rankings
•   Band 1 (2024), Band 2 (2014–2023) Nationwide                •   Sport (Tier 6)
•   Five lawyers recognized in Bands 1, 2 3, and
    Up & Coming

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What They Say
“[Winston’s] encyclopedic expertise, redoubtable record and reputation, and its
singular practitioners are nonpareil.”
LEGAL 500 UNITED STATES 2022




“The group tackles complex and sophisticated matters through research and brilliant
strategy.”
CHAMBERS USA 2023




“They have the best knowledge of the U.S. sports legal market… You feel like you
are in the best possible hands”
LEGAL 500 UNITED STATES 2023



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What They Say
“Ability to advise on developer, equity, lender and construction matters for projects.
Good holistic perspective.”
LEGAL 500 UNITED STATES 2022




“Every team member is extremely bright and a fantastic attorney.”
CHAMBERS USA 2023




“The individuals on the team are very thorough in their approach. They have brilliant
legal minds and can conceptualize thoughtful strategies. They work hard and are
always responsive and available.”
LEGAL 500 UNITED STATES 2023


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                                       Jeffrey Kessler
                                       PARTNER
                                       CO-EXECUTIVE CHAIRMAN

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                                       jkessler@winston.com


Co-Executive Chairman of Winston & Strawn, Jeffrey is one of the world’s leading
antitrust, sports law, and trial lawyers. He has served as lead counsel in some of the
most complex antitrust, sports, and intellectual property litigations in the country,
including major jury trials, and has represented a number of U.S. and international
companies in criminal and civil investigations in the antitrust, sports law, trade, and
Foreign Corrupt Practices Act (FCPA) areas.

Jeffrey formerly served as the co-chair of Winston’s global Antitrust/Competition Practice and as the co-chair of
the firm’s Sports Law Practice. Law360 recently named both practices as a “Practice Group of the Year” for their
respective categories. He focuses his practice on all aspects of antitrust/competition, sports law, complex
commercial litigation, intellectual property (IP), and government criminal and civil investigations. He has served
as lead counsel in some of the most complex antitrust, sports law, and IP law cases in the country, including
major jury trials, and has represented many U.S. and international companies in criminal and civil investigations
in the antitrust, trade, and Foreign Corrupt Practices Act (FCPA) areas. He successfully defended Matsushita and
JVC against claims of a worldwide conspiracy in the landmark U.S. Supreme Court case Zenith v. Matsushita
and is regarded universally as a leading commentator on international antitrust law. He has also been the lead
counsel for important cases involving frontier issues of IP law and lead counsel in numerous
government criminal and civil investigations. He is a member of the firm’s Videogame, Gaming, and Esports
Group, which provides comprehensive legal solutions to companies in the sector.
Jeffrey is also one of the United States’ most prominent lawyers regularly engaged in high-profile sports
litigation. He has litigated some of the most famous sports-antitrust cases in history, including the landmark
college players-brought Alston v. NCAA case, in which, following Jeffrey’s oral argument, the U.S. Supreme
Court unanimously affirmed his and co-counsel’s earlier “groundbreaking and disruptive” trial victory against the
NCAA in this antitrust challenge to its no-compensation rules; McNeil v. The NFL, the watershed antitrust jury
trial that led to the establishment of free agency in the National Football League (NFL); and Brady v. NFL, which
led to the end of the 2011 NFL lockout. Jeffrey’s sports sector clients have included the NFL Players Association
(NFLPA), the National Basketball Players Association (NBPA), the Arena Football League Players Association, the
National Hockey League Players Association, the Major League Baseball Players Association, the National
Invitation Tournament (NIT), Wasserman Media Group, SCP Worldwide, MVP Sports, the U.S. Women’s National
[Soccer] Team (USWNT), the NFL Coaches Association, the Women’s Tennis Benefit Association, Endeavor,


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Super Slam Ltd., Activision Blizzard, Adidas, Klutch Sports, and Players, Inc. Jeffrey has represented various
classes of Division 1 college basketball and football players; other college athletes; elite swimmers; NBA, NFL,
AFL, and MLS players; the North American Soccer League (NASL); the U.S. Football League; the Overwatch and
Call of Duty Esports leagues; the Professional Bull Riders; Relevent Sports Agency, and the Cities of San Diego
and Oakland, as well as Alameda County, in various sports law disputes. He negotiated the current free
agency/salary cap systems in the NFL and NBA, and successfully represented Latrell Sprewell in his
controversial suspension arbitration. In the area of NFL discipline, he represented the NFLPA on behalf of Ray
Rice, Tom Brady (in “Deflategate”), Ezekiel Elliott, Adrian Peterson, and the “Bountygate” players. He
represented pro bono Oscar Pistorius, the double-amputee athlete, in his successful arbitration to obtain the
right to compete against non-disabled athletes around the world. Recently, he achieved a landmark equal pay
class action settlement for the members of the USWNT.
This impressive experience has led Law360 to name Jeffrey as an MVP for Sports and Betting (2015; 2018–
2022; and 2024). In March 2022 at the Benchmark Litigation East Coast Awards, Jeffrey was honored as the
Antitrust Litigator of the Year, and the firm was recognized for its work on NCAA v. Alston, one of the National
Impact Cases of the Year. Jeffrey is also part of the group recognized with GCR’s 2022 “Litigation of the Year:
Cartel Prosecution” award.

KEY MATTERS
x   Jenkins v. NCAA and Alston v. NCAA, et al. – Successfully represented classes of Division 1 college football
    and basketball players in a landmark antitrust case and successful trial, culminating in a verdict that struck
    down anticompetitive NCAA rules barring player compensation. Both the Ninth Circuit and Supreme Court
    later affirmed the trial win, with the Supreme Court issuing a heralded, unanimous decision, after Jeffrey
    presented oral argument to the Court on the players’ behalf. The American Lawyer (Am Law) recognized
    both the trial and Supreme Court wins with its highly coveted “Litigator of the Week” (LOTW) honor. Jeffrey
    is currently representing college players in the House litigation against the NCAA, asserting antitrust claims
    against NCAA restrictions on athlete compensation for rights to their names, images, and likenesses.
x   Zenith v. Matsushita Electric Industrial Co., Ltd. – Successfully defended Matsushita in a landmark antitrust
    conspiracy case, in which the Supreme Court established new summary judgment standards
x   McNeil v. NFL – Won jury verdict for NFL players striking down free agency restrictions under the antitrust
    laws, a victory which led to the Reggie White class action that resulted in a settlement establishing the free
    agency/salary cap system in the NFL
x   Thales Avionics, Inc. v. Matsushita Avionics Systems Corp. – Won summary judgment for Matsushita against
    monopolization charges in the avionics industry
x   U.S. Women’s National Team Equal Pay Litigation – Achieved a groundbreaking, widely reported, and
    globally acclaimed equal pay class action settlement for the USWNT players in their equal pay and working
    conditions litigation against the United States Soccer Federation (USSF)
x   Panasonic Corp. of North America class action defense – Represented Panasonic in its defense of various
    nationwide consumer class actions in New Jersey and California courts
x   NFL Discipline Cases– Represented the NFLPA for Tom Brady (in “Deflategate”), Ray Rice, the “Bountygate”
    players, Ezekiel Elliott, Adrian Peterson, and others in challenging NFL discipline
x   JVC Americas Corp. class action defense – Represented JVC in national consumer class action defense
x   MDL proceedings – Has represented and continues to represent Panasonic, Sanyo, NTN, Nippon Seiki,
    Corning, and other major companies in complex MDL class actions



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x   Axcess Global v. Matsushita Electric Industrial Co., Ltd. – Successfully defended Matsushita in a nine-week
    jury trial involving claims of breach of contract and fraud, in which the plaintiffs sought US$750 million and
    the jury awarded a complete defense verdict
x   NBA Player Class Actions – Successfully represented various classes of NBA players in different antitrust
    actions, leading to the current free agency/salary cap system in the NBA and the end of the 2011 NBA
    lockout
x   DVD Copy Control Association v. Bunner – Successfully obtained preliminary injunction for DVD Copy
    Control Association in watershed case challenging theft and distribution of DVD trade secrets over the
    internet
x   Brady v. NFL – Successfully represented a class of NFL players in an antitrust action that led to the end of
    the 2011 NFL lockout
x   Players Inc. v. Gridiron and Athletes First – Successfully prosecuted two frontier IP litigations challenging
    the group use of NFL player images on websites
x   J.F. Feesers v. Serv-A-Portion – Successfully represented plaintiff in major Robinson-Patman Act litigation
x   City of Oakland and Alameda County v. Oakland Raiders – Obtained summary judgment on behalf of the
    City of Oakland and Alameda County requiring Raiders to honor the team’s stadium lease and remain in
    Oakland
x   Minolta and Matsushita State Attorneys General Antitrust Litigation – Successfully settled separate multi-
    state antitrust actions alleging resale price maintenance
x   Samsung v. Panasonic – Represented Panasonic and the SD-3C patent pool against antitrust claims
    challenging industry standard-setting and patent pool licensing provisions
x   Sprewell v. NBA – Successfully represented Latrell Sprewell and the NBPA in arbitration reducing
    controversial suspension and reversing guaranteed contract termination
x   Rowe v. Creative Artists Agency – Obtained summary judgment for CAA in defense of alleged conspiracy
    case
x   Metropolitan Intercollegiate Basketball Association v. NCAA –Successfully represented the NIT in antitrust
    litigation and jury trial against the NCAA, leading to settlement that protected the future of the NIT
x   Telesat Cablevision, Inc. v. The Nashville Network – Successfully defended the Nashville Network and
    Westinghouse Broadcasting against antitrust claims by cable company
x   NBA and NFL arbitrations – Represented the players associations in numerous arbitrations involving player
    free agency rights, circumvention claims, collusion claims, salary caps, and various other collective
    bargaining agreement issues
x   North America Soccer League v. NFL– Successfully represented original NASL in an antitrust case striking
    down NFL ownership rules
x   Matsushita Electronics Corp. v. Loral Corp. – Successfully represented Matsushita in obtaining summary
    judgment to establish a license defense against patent infringement claims
x   Guidry v. AFL – Successfully represented class of AFL players in an antitrust case that established free
    agency in the AFL
x   Belichick v. NFL – Represented NFL Head Coach Bill Belichick in litigation relating to changing teams from
    the Jets to the Patriots
x   Matsushita v. Mediatek – Lead Counsel for Matsushita in major patent litigation
x   Hygrade Milk and Cream Co. v. DiGiorgio – Successfully defended company in Robinson-Patman Act
    litigation




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x   City of Oakland v. Oakland A’s – Successfully represented the city in franchise valuation arbitration with the
    Oakland A’s baseball team
x   Honeywell v. Victor Company of Japan Ltd. – Successfully defended JVC against claims of willful patent
    infringement
x   NFLPA v. NFL – Successfully represented NFLPA in challenge to provisions of the NFL TV contracts used to
    fund the NFL 2011 Lockout
x   Ovalar Makine Ticaret Ve Sanayi, A.S. v. Applied Industrial Materials Corp. – Successfully vacated
    arbitration award in landmark Second Circuit decision on the standards for determining arbitrator bias
x   Cinram v. Matsushita– Obtained summary judgment in defense of antitrust claim against the DVD6C patent
    pool
x   Global Cartel Defense– Represented major international companies in more than a dozen global cartel
    investigations, including in the United States, Canada, the EU, Brazil, Mexico, Korea, Japan, Australia, New
    Zealand, UK, and China
x   Oscar Pistorius v. IAAF – Won landmark arbitration for Oscar Pistorius, the double-amputee runner, enabling
    him to compete against non-disabled athletes and to realize his dream of competing in the Olympics
x   North American Soccer League v. USSF – Represented the new NASL in antitrust litigation against the
    USSF
x   Successfully represented college athletes at Stanford University and Robert Morris University to restore
    their varsity sports teams
x   Continental vs. Avanci – Successfully defended Avanci in antitrust litigation against its patent licensing
    platform, and preserved the win on appeal to the Fifth Circuit
x   William Morris Endeavor v. Writers Guild of America – Represented WME in major antitrust litigation against
    WGA
x   Representing class of elite swimmers in antitrust litigation against Fédération Internationale De Natation
    (FINA)
x   Representing MLBPA in various litigations and grievances
x   Representing Relevent Sports Agency in antitrust litigation against the USSF and FIFA
x   Representing leading sports agencies, including Endeavor, MVP Sports, Wasserman, and Klutch in
    litigations and arbitrations over agent movement

EDUCATION
Jeffrey received a J.D. from Columbia Law School in 1977, where he was a Kent Scholar and on the board of
editors for the Columbia Law Review. He received a B.A., summa cum laude, from Columbia University in 1975.

ADMISSIONS
x   New York

RECOGNITIONS
Jeffrey has been recognized by Am Law as its “Litigator of the Week” (LOTW) in October 2024 and in March
2019, and by The National Law Journal as a “Litigation Trailblazer” for his historic trial victory on behalf of
classes of college football and basketball players in antitrust litigation against the NCAA, striking down the
NCAA’s anticompetitive compensation restraints and, again, as its LOTW in June 2021 after he argued the
appeal before the Supreme Court and secured a unanimous affirmation of the trial win. Jeffrey also was



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honored with the LOTW recognition in March 2018 when he defeated plaintiffs’ second attempt to obtain class
certification in a major antitrust action against Panasonic and in September 2015 for his team’s victory on behalf
of Tom Brady and the NFLPA in the so-called “Deflategate” matter. Jeffrey led the team of lawyers named in
February 2022 as LOTW runners-up for their representation of current and former members of the USWNT
(soccer) in their landmark settlement of the equal pay portion of their lawsuit seeking to equalize pay and
working conditions between the men’s and women’s U.S. national soccer teams as well as the team honored
with LOTW recognition in March 2022 for their important Fifth Circuit antitrust win for client Avanci—a joint
licensing platform for standard essential patents for the 2G, 3G, and 4G wireless standards.
In December 2021, Sports Business Journal (SBJ) named Jeffrey to its 2021 list of “The Most Influential People
in Sports Business.” Earlier, in October 2021 and on its 75th anniversary, SBJ recognized Jeffrey as an individual
who helped grow the NBA into the global powerhouse it is today, placing him on its list of “Power Players:
Outside Counsel.”
In September 2024, Jeffrey was featured in Sports Illustrated on their 2024 list of The 50 Most Influential
Figures in Sports. The list features leaders, athletes, executives, dealmakers, and influencers in the sports
industry who push limits, redefine success and have an outsized impact between and outside the lines. Among
the ranks of icons such as Tom Brady and Simone Biles, Jeffrey was highlighted for his work on behalf of
college athletes in House v. NCAA, that forced a US$2.8B damages settlement (plus a 10-year agreement for
future payments) and allows revenue sharing directly with college athletes.
Jeffrey’s honors include being named an “Acritas Star,” a recognition for lawyers who have been independently
nominated for exceptional work in private practice, named as a “2020 Trailblazer” by New York Law Journal,
and named as a December 2015 “Litigation Trailblazer” by The National Law Journal as one of 50 attorneys
who have helped make a difference in the fight for justice. Jeffrey received the John Jay Award from Columbia
College for distinguished professional achievement in 2016.
Jeffrey received the Legal Aid Society New York’s 2019 Pro Bono Publico Award, honoring his outstanding and
sustained achievements in pro bono services. And he received the Servant of Justice Award from the Legal Aid
Society in 2019.
Jeffrey has been recognized by numerous publications, including The Legal 500 US, Chambers Global,
Chambers USA, Best Lawyers in America (the Top 100 Lawyers in New York), and Elite Trial Lawyers for his
antitrust, commercial litigation and sports law practices. The Legal 500 US has recognized him in Antitrust Civil
Litigation/Class Actions: Defense; Antitrust: Cartel; International Litigation; and as a “Leading Trial Lawyer.” The
Legal 500 US also honored Jeffrey in its Hall of Fame (2020–2024) for Industry Focus: Sport (“Jeffrey Kessler is
the most knowledgeable and effective lawyer in America when it comes to antitrust law in sports. He is also
extremely responsive and communicative. He goes above and beyond when he takes a case.”). The Best
Lawyers in America® has recognized him for Antitrust Law (2006–2025), Sports Law (2007–2025), Litigation-
Antitrust (2011–2025) and Commercial Litigation (2021–2025). Best Lawyers® also named him “Lawyer of the
Year” for Sports Law in 2021 and 2017 and “Lawyer of the Year” for Antitrust Litigation in 2020. Chambers
Global 2024 ranked him among the nation’s leading lawyers in Antitrust: Cartel. Chambers USA 2018–2024
ranked him among the nation’s leading lawyers in Antitrust, Antitrust: Cartel, and Sports Law. In 2024,
Chambers USA ranked him as a “Star Individual” for Sports Law. Benchmark Litigation US has placed him on its
“Top 100 Trial Lawyers” list (2017–2025), honored him as the “Antitrust Litigator of the Year” at the 2022
Litigation East Coast Awards, and identified him repeatedly as a “National General Commercial Litigation Star”
and “New York Litigation Star” and as one of America’s Top 100 High Stakes Litigators (2017). Jeffrey has been


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recognized by Guide to the World’s Leading Antitrust Lawyers, Law360 (2015; 2018-2022; 2024 “Sports MVP”),
The National Law Journal’s “Elite Lawyers and Winning Litigators,” Who’s Who Legal (Sports, Competition, and
Commercial Litigation numerous times), Lawdragon 500’s “Leading Lawyers in America” (2020 “500 Hall of
Fame” inductee), Lawdragon 500s “Leading Litigators in America,” and the 2019 “Lawdragon 500: The
Legends.” He has been repeatedly listed in Super Lawyers, including as the “Top Rated Antitrust Litigation
Attorney” and one of the “Top 100 Lawyers in New York.” Jeffrey has been named as one of “The 50 Most
Influential People in the Sports Business” by Sports Business Journal. In 2024, Forbes ranked Jeffrey among
the “Top 200 Lawyers in America.”
Jeffrey has also been recognized as one of “The CFB Hot 25 Rankings: The Most Influential (behind-the-
scenes) People in the Sport” for his work in NCAA v. Alston (2023).
In addition to his practices being named by Law360 as a Practice Group of the Year for Antitrust/Competition
(2021) and Sports Law (2017, 2020-2023), the firm’s Sports Law Practice has been recognized by U.S. News –
Best Law Firms as “Law Firm of the Year” for Sports Law (2012, 2013, 2018–2022, 2024) and the firm’s
Antitrust/Competition Practice was named “2015 Team of the Year” in cartel defense by The Legal 500 US.
In December 2024, Jeffrey was named among Crain’s New York Business’ 2024 Notable Leaders in
Accounting, Consulting & Law.
Jeffrey was honored by the Auschwitz Jewish Center Foundation (AJCF) at their annual Gala in New York on
June 1, 2023, and awarded the AJCF Advocacy Award for his profound, impactful work to effect meaningful
change for all. Jeffrey’s outstanding contributions serve as the paradigmatic example of fighting hatred, for
everyone, especially given his remarkable efforts to stand up for those who aren't able to stand up for
themselves.



INSIGHTS & NEWS
x   Featured, The Closer Podcast, Brazen, June 16, 2023
x   Speaker, “The Supreme Court in 2022,” NYSBA Antitrust Law Section Annual Meeting, January 18, 2023
x   Speaker, “Baseball Antitrust Exemption,” ABA Antitrust Law Section Webinar, October 14, 2022
x   Speaker, “Navigating Per Se and Rule of Reason,” 2022 ABA Antitrust Law Spring Meeting, April 6, 2022
x   Speaker, “Discussion of NCAA Antitrust Case and Transgender Athletes’ Rights,” Sport Resolutions,
    December 7, 2021
x   Speaker, 2021 Golden State Antitrust and Unfair Competition Law Institute, November 18, 2021
x   Speaker, “A Conversation with Jeffrey Kessler,” Seton Hall University, November 3, 2021
x   Speaker, “Alston v. NCAA: A Reckoning for the Big Business of College Sports,” Celesq® webinar,
    September 14, 2021
x   Featured, CNN Films and HBO Max special broadcast of LFG, a documentary about the U.S. Women’s
    National Team (USWNT) for soccer and their fight for equal pay, September 6, 2021
x   Speaker, “College Athletics in the Supreme Court Spotlight: Alston v. NCAA,” Association of Business Trial
    Lawyers, July 14, 2021
x   Moderator, “Mitigating Risks in U.S. Transactions: CFIUS and Merger Review Tips for Japanese Companies,”
    Winston & Strawn Webinar, June 28, 2021




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x   Featured, “Litigator of the Week: Jeffrey Kessler Takes the Fight to Get NCAA Athletes Compensated from
    the Trial Court to the High Court,” The American Lawyer, June 25, 2021
x   Featured, “Vice Versa: College $ports, Inc.,” Vice TV documentary, June 9, 2021
x   Pocket Part Update to “Parties” Chapter of Commercial Litigation in New York State Courts Treatise, 5th
    edition (2021)
x   Co-author, “Compliance Challenges for Foreign Investment in the U.S.,” Asia Business Law Journal’s Japan
    Outbound Investment Guide, 2021 and 2022
x   Co-author, “The NIL in Amateurism’s Coffin: How the NCAA’s Policy Reversal Shows Once Again That
    Compensating Student-Athletes Won’t Hurt College Sports,”Journal of Sports and Entertainment Law
    (August 2020)
x   Featured, Balance of Power Podcast, Bloomberg Radio, June 29, 2020
x   Featured, “Brown University Athletes Who Lost Their Sports May Have Their Day in Court,” Sports
    Illustrated, June 22, 2020
x   Featured, “NCAA Athlete Case Part of Social Justice Push, Atty Says,” Law360, June 2, 2020
x   Featured, “Litigator of the Week: Winston’s Jeffrey Kessler Scores for College Athletes,” The American
    Lawyer, March 15, 2019
x   Co-author, International Trade and U.S. Antitrust Law, 2nd Edition, 2006 (updates through 2019)
x   Speaker, “Antitrust Litigation Against the Compensation Restrictions of the NCAA for Division I Football and
    Basketball Players,” 21st Annual Fordham Sports Law Symposium, March 24, 2017
x   Speaker, “Designing Antitrust Compliance in a Silicon Valley Culture,” 28th Annual All Hands Meeting Hub,
    November 17, 2016
x   Speaker, “NCAA Change and Challenges: A Landscape in Flux,” 2015 Jeffrey S. Moorad Sports Law Journal
    Symposium, April 20, 2015
x   Speaker, “Antitrust Theories in Sports Law Cases,” Mecklenburg County Bar High-Profile Sports Litigation
    CLE Program, January 21, 2015
x   Co-Chair, IBC Legal’s 2013 Advanced U.S. Antitrust Conference, November 7, 2013
x   Speaker, “At the Table with the Player’s Union,” Bloomberg Sports Business Summit, September 10, 2013
x   “After Further Review: How the Eighth Circuit’s Misinterpretation of the Norris-LaGuardia Act Fumbled the
    District Court’s Ruling in Brady v. NFL,” 1 Berkeley J. Ent. & Sports L.,2012
x   “The Supreme Court’s Decision in Dagher: Canary in a Coal Mine or Antitrust Business as Usual?” Antitrust,
    2006
x   Inside the Minds: AntitrustLaws, 2005
x   “Strategies for Litigation,” The Litigation LeadershipRoundtable, 2005
x   The Corporate Counselor and Antitrust/The Corporate Counselor’s Deskbook, 2003
x   Editorial Board, Competition Laws Outside the United States, 2001–2003
x   “Protecting DVD Trade Secrets in an Internet World,”2002
x   “Understanding Business and Legal Aspects of Sports Industry,” Practising Law Institute, Co-Chair, 1999–
    2000
x   “What Justice Breyer Could Not Know at His Mother’s Knee: The Adverse Effects of Brown v. Pro Footballon
    Labor Relations in Professional Sports,” 2000
x   Co-Editor-In-Chief, State Antitrust Practice and Statutes, 2nd Edition, 1999
x   “Consents and Settlement Agreements,” Antitrust Law in New York State, 1995
x   “The New Wave of Antitrust CIDs: What to Do When the Department of Justice Comes Knocking on Your
    Door,” The Metropolitan Corporate Counsel,1995



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x   “New International Antitrust Guidelines,” ANTITRUST, Summer 1989
x   “The Antitrust Legacy of the Reagan Administration,” The Antitrust Bulletin, 1988
x   “Litigating International Antitrust Cases,” The Practitioner’s Viewpoint, 1987
x   “S. 1300-H.R. 4831 – An Overdue Antitrust Reform,” The Antitrust Bulletin, 1986
x   “Integrated Reform Suggested for Antitrust Remedies,” 1983

ACTIVITIES
Jeffrey is a Lecturer-in-Law at Columbia Law School, where he has taught a course on complex litigation. He
has written and lectured extensively on a wide variety of antitrust, sports law, and related topics. Jeffrey has
published multiple editions of International Trade and U.S Antitrust Law, a treatise on antitrust and trade law
issues in a global economy. He also was co-editor-in-chief of State Antitrust Practice and Statutes, published by
the ABA Antitrust Law Section. He was a member of the Council and was formerly co-chairman of the
Publications Committee and chairman of the International Antitrust Law Committee of the Antitrust Section of
the American Bar Association (ABA). He was also a member of the ABA’s NAFTA Tri-National Committee and an
Adjunct Professor of Law at Fordham Law School. He was a founding member of the Board of Advisors of the
Georgetown University Study of Private Antitrust Litigation. Jeffrey is a member of the Board of the Center for
Family Representation, chair of the Board of Advisors of the Legal Aid Society, a member of the Board of
Visitors at Columbia Law School, and a fellow of the International Academy of Trial Lawyers.

EXPERIENCE
Agreement Between 119 Institutional Investors and the Company Vivendi SE
Won Important Dismissal of Sherman Act Claims Against Actors’ Equity on Statutory Labor Exemption Grounds
Secured New CBA Deal for NBA Players Following Round-the-Clock Negotiating Sessions with NBA
Triumphed for Relevent Sports Before Second Circuit, Reviving Antitrust Suit Against FIFA, USSF
Secured Landmark Equal-Pay Settlement for Current and Former USWNT Members
Successful Resolution of Cleveland Browns Quarterback DeShaun Watson Arbitration Contesting NFL’s
Unprecedented Disciplinary Recommendation
Secured High-Profile Fifth Circuit Dismissal for Avanci of Closely Watched Technology-Antitrust Case




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                                         Dave Greenspan
                                         PARTNER
                                         CO-CHAIR, SPORTS PRACTICE

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An accomplished antitrust, sports, and complex-commercial litigator, Dave counsels
clients on wide-ranging matters and represents them both at trial and on appeal.

Dave Co-Chairs Winston’s top-ranked Sports Law Practice. One of the nation’s leading sports law litigators,
Dave has litigated sports-industry cases involving antitrust law, labor law, licensing, agent regulation, active and
retired player rights, and collegiate athlete rights. Dave has represented all four major U.S. professional sports
players associations, myriad professional athletes and agents, and on occasion teams and owners in disputes
with their respective leagues. He was trial and appellate counsel in the landmark Alston v. NCAA antitrust
litigation, wherein the team prevailed at trial and that culminated in a widely reported unanimous Supreme
Court victory.
In the antitrust arena, Dave has litigated cases involving alleged cartels, monopoly and monopsony conduct,
predatory pricing, price fixing, group boycotts, bid rigging, and other restraints of trade. His practice is balanced
between litigation defense, litigation prosecution, and counseling. Representative defense work includes
defending alleged cartel activities in multidistrict class actions, defending alleged monopolization under various
federal and state antitrust laws, and defending companies in criminal and administrative proceedings brought
by the U.S. Department of Justice (DOJ) and international competition authorities. On the plaintiff’s side, Dave
has prosecuted group boycotts and other restraints of trade in the sports and entertainment industries, among
others. Dave regularly counsels clients on antitrust matters, including implementing antitrust compliance
policies, conducting antitrust trainings, and advising on day-to-day business issues.
Dave is part of the group recognized with GCR’s 2022 “Litigation of the Year: Cartel Prosecution” award for
Winston’s historic unanimous Supreme Court victory for college athletes in Alston v. NCAA.

KEY MATTERS
x   Alston v. NCAA — Trial, appellate, and Supreme Court counsel for classes of collegiate players in their
    landmark antitrust victory against the NCAA concerning its restraints on athlete compensation.
x   NFLMC v. NFLPA (Tom Brady) — Represented the NFLPA and Mr. Brady in arbitration and litigation
    challenges to discipline imposed on Mr. Brady in connection with so-called “Deflategate.”
x   Johnson v. NFLPA — Argued Second Circuit appeal affirming summary judgment for the NFLPA.




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x   Job Creators Network v. MLB, MLBPA — Represented the MLB Players Association (MLBPA) in litigation
    challenging MLB’s decision to move the All-Star Game.
x   WME v. WGA — Represented William Morris Endeavor Entertainment in antitrust litigation against the Writers
    Guild of America.
x   House v. NCAA — Represents classes of collegiate players in antitrust litigation against the NCAA
    concerning its restraints on name, image and likeness compensation.
x   In re Automotive Brake Hoses Antitrust Litig. — Represented Hitachi Metals, Ltd. in defense of bid-rigging
    claims.
x   Drabinsky v. Actor’s Equity Association – Represents Actor’s Equity in antitrust litigation with a producer.
x   Kaepernick v. NFL — Represented the NFLPA in connection with Colin Kaepernick’s collusion claim against
    the NFL.
x   NFLPA v. NFL (Saints “Bounty” Discipline) — Represented the NFLPA and certain NFL players in litigation
    and multiple arbitrations that resulted in all discipline being vacated.
x   In re Optical Disc Drives Antitrust Litig. — Represented Panasonic in defense of price fixing claims.
x   NBPA/NBA Player Litigations and Brady v. NFL — Represented NBA players and NFL players in their
    respective antitrust lawsuits challenging lockouts imposed by the NBA and NFL.
x   In re Refrigerant Compressors Antitrust Litig. — Represented Panasonic in defense of price fixing claims.
x   Thales v. Panasonic Avionics Corp. — Represented Panasonic Avionics Corp. in a matter in which
    Panasonic achieved summary judgment against claims of unlawful monopolization and predatory pricing.
x   Ferguson v. WPT Enterprises, Inc. — Represented seven of the world’s top poker players in an antitrust
    lawsuit against the World Poker Tour.
x   In re Dewey Ranch Holdings — Represented PSE Sports & Entertainment in James Balsillie’s bid to
    purchase and relocate the Phoenix Coyotes hockey franchise out of bankruptcy.

EDUCATION
Dave received a J.D. from the University of Pennsylvania Law School in 2001, and a B.A., cum laude, from the
University of Pennsylvania in 1998.

ADMISSIONS
x   New York

RECOGNITIONS
Dave has been recognized for his legal acumen by a number of publications:
x   Chambers USA—Ranked as one of the nation’s leading attorneys in Sports Law (2018–2024) and as
    “Leaders in Their Field” and “Up & Coming” for Sports Law (2015)
x   The Best Lawyers in America®—Selected by his peers for Sports Law (2019–2025)
x   Benchmark Litigation US—Recognized as a “Litigation Star” (2023–2025) and on it’s “Under 40 Hot List”
    (2016)
x   The Legal 500 US—Recognized as a “Leading Lawyer” for Sports Law (2010, 2018, 2021–2024) and as a
    “Key Lawyer” in for Antitrust: Civil Litigation/Class Actions: Defense (2022–2023)
x   Lawdragon “500 Leading Litigators in America”—Recognized for Antitrust, Sports, Complex Commercial
    Litigation and Appeals (2023–2025)
x   Super Lawyers—Recognized (2023–2024) and listed as a “Rising Star” (2014–2015)



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x   AAI—“Antitrust Enforcement Award” for Private Litigation (2019, 2021)
x   Law360—Recognized as a “Rising Star” in its list of four “Sports Lawyers Under 40 to Watch” (2016)
x   Sports Business Journal—Recognized on the “40 Under 40” list as one of the top young executives in the
    sports industry (2014, 2016)
x   New York Law Journal—Recognized as a “Rising Star” and a top contributor to the practice of law and the
    community (2014)
x   Law360—Recognized as a “Rising Star” in its list of four “Media & Entertainment Lawyers under 40 to
    Watch” (2013)
x   Legal Aid Society—“Rights of Workers Pro Bono Award” for achieving summary judgment in a matter of first
    impression on behalf of a low-income childcare worker (2004)

INSIGHTS & NEWS
x   Speaker, 25th Annual Fordham Sports Law Symposium, March 11, 2022
x   Panelist, University of Pennsylvania Law School, Sports Law Symposium, February 2021
x   Co-author, “The NIL in Amateurism’s Coffin: How the NCAA’s Policy Reversal Shows Once Again That
    Compensating Student-Athletes Won’t Hurt College Sports,” Journal of Sports and Entertainment Law
    (August 2020)
x   Panelist, ABA Section of Antitrust Law Committee, Collusion in Sports (May 30, 2019)
x   Panelist, Update on Labor Relations, Sports Lawyers Ass’n (May 2019)
x   Panelist, ABA Trade, Sports, and Professional Associations Committee, “Hot Topics in Sports and Antitrust”
    (March 9, 2018)
x   Panelist, Fifth Annual Penn Law Sports Law Symposium, Sponsored by Penn Law, COP, and the
    Entertainment and Sports Law Society (February 9, 2018)
x   Panelist, Association of Business Trial Lawyers, Tackling NFL Player Litigation: From Bountygate to
    Deflategate (February 6, 2018)
x   ABA International Committee Monthly Corporate Counsel Update (November 2017)
x   Panelist, NYU Law School Sports Law Colloquium (March 2016)
x   NYU School of Professional Studies, “Labor Relations in Sports,” Guest Lecturer, February 2016
x   University of New Hampshire, Professor Michael McCann’s Deflategate Course, Guest Lecturer, October
    2015
x   William B. Bryant Inn of Court, “Deflategate Goes to Federal Court,” Guest Lecturer, October 2015
x   Panelist, NY State Bar Association Antitrust Law Section Annual Meeting, “Amateur in Name Only? The
    Intersection Between Antitrust Law and College Athletics,” January 2015
x   NYU School of Professional Studies, “Labor Relations in Sports,” Guest Lecturer, December 2014
x   Panelist, CSE Sports Marketing Symposium, “College Sports: The Changing Relationship with Athletes and
    the Implications on Sports and Sports Marketing,” October 2014
x   Panelist, Federal Bar Council, “The Role of Federal Litigation in Governing Sports in the 21st Century,”
    September 2014
x   Panelist, University of Pennsylvania Law School, Sports Law Symposium, February 2014
x   CPI Antitrust Chronicle, Litigating Change in CollegeSports, Author, January 2014
x   Bloomberg TV, Market Makers, Discussing Alex Rodriguez lawsuit, October 2013
x   ABA Section of Antitrust Law: Cartel and Criminal Practice and Economics Committee, “The Economics of
    Collusion,” Moderator, July 2013




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ACTIVITIES
x   Dave serves on Winston’s Racial Equity Task Force
x   Dave has served as chair of Winston’s Associate Evaluation Committee since 2016
x   2016, 2018, and 2019 Law360 Sports Editorial Advisory Board Member
x   Dave formerly served as the chair of the New York City Bar Association’s Sports Law Committee

EXPERIENCE
Won Important Dismissal of Sherman Act Claims Against Actors’ Equity on Statutory Labor Exemption Grounds
Successful Resolution of Cleveland Browns Quarterback DeShaun Watson Arbitration Contesting NFL’s
Unprecedented Disciplinary Recommendation




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                                        Jeanifer Parsigian
                                        PARTNER

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                                        +1 415-591-1469
                                        jparsigian@winston.com


An accomplished antitrust, sports, and commercial litigator, Jeanifer concentrates her
practice on civil antitrust litigation with a particular focus in mixed issues of antitrust
and intellectual property law, and class actions. She represents clients in some of the
most complex antitrust, sports, and intellectual property disputes in the country at the
trial and appellate levels. She has represented clients in high-profile matters such as
the landmark Supreme Court decision against the NCAA on behalf of classes of D-I
college athletes and Women’s National Soccer Team’s gender discrimination litigation.
Jeanifer has been recognized by top ranking publications including Chambers USA,
Legal 500 US, SuperLawyers, and Law360. Most recently, she was named in
Global Competition Review’s 2024 “40 Under 40” honor roll.

Jeanifer’s practice focuses on all aspects of antitrust/competition, sports law, intellectual property, and complex
litigation. She regularly represents major U.S. and multinational corporations in connection with a wide array of
federal and state antitrust and competition issues, including monopolization, price fixing, wage fixing, merger
enforcement, group boycotts, exclusive dealing, tying, price discrimination, unfair competition, and mixed issues
of antitrust and intellectual property law relating to Fair, Reasonable, and Non-Discriminatory (FRAND)
obligations, standard-setting, patent licensing, and patent misuse. Jeanifer represents clients across multiple
industries, including sports and entertainment, financial services, technology, food and beverage, and retail.
In addition to Jeanifer’s antitrust experience, she has also represented clients facing patent infringement,
employment discrimination claims, and consumer fraud and other business tort and breach of contract claims.
She also has experience in alternative dispute resolution, including commercial arbitration and mediation.
She has been recognized for obtaining critical wins for her clients whether at trial, on appeal, or by obtaining
complete dismissals. Recently, she successfully defended PetIQ in a private merger challenge, where she
argued an appeal to the Ninth Circuit and successfully secured a dismissal of the complaint. Jeanifer also has a
major role in Winston’s renowned sports practice, successfully trying antitrust claims to a landmark win for
college athletes against the NCAA upheld by the Supreme Court, and in a high-stakes, high-profile gender
discrimination lawsuit on behalf of the Women’s National Soccer Team in their pursuit of equal pay.




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In February 2022, Jeanifer was among the team of lawyers named as runners-up for “Litigator of the Week” by
The American Lawyer for their representation of current and former members of the U.S. Women’s National
Team in their landmark settlement of the equal pay portion of their lawsuit seeking to equalize pay and working
conditions between the men’s and women’s U.S. national soccer teams. Jeanifer was also named one of
Law360’s Sports & Betting “Rising Stars” of 2022 and named as a “Lawyer on the Fast Track” by The Recorder
for 2022.

KEY MATTERS

Federal Litigation Matters:
x   House v. NCAA: On behalf of putative classes of student-athletes, the firm is fighting the NCAA for antitrust
    violations seeking prior damages for restraints on the use of student-athlete names, images, and
    likenesses. The Winston team beat a motion to dismiss in July 2021.
x   Guden v. Stanford University: Serving as co-lead plaintiff counsel, filed an action seeking a preliminary
    injunction to stop Stanford University from terminating eight of its varsity sports teams. As a result of the
    lawsuit and pending preliminary injunction motion, Stanford announced the reinstatement of all eight
    eliminated teams. The action was withdrawn as the reinstatement of the teams by Stanford was a complete
    and total victory in May 2021.
x   Jenkins v. NCAA and Alston v. NCAA et al.: Representation of classes of college athletes in antitrust in
    antitrust trial striking down anticompetitive NCAA rules.
x   Morgan vs. USSF: Representation of a class of Women’s National Team soccer players in gender
    discrimination litigation against the U.S. Soccer Federation.
x   Preston Hollow Capital LLC v. Nuveen LLC: Representation of global investment manager accused of group
    boycott claims under the Sherman Act and New York Donnelly Act and tortious interference with
    prospective business in claims.
x   B&R Supermarket v. Visa et al.: Representation of defendant Discover Financial Services in a putative class
    action alleging violation of federal and state antitrust laws in connection with chip card technology.
x   Med Vets Inc. et al. v. VIP Petcare Holdings Inc. et al.: Representation of PetIQ, a leading company in the
    pet medicine industry, in a private antitrust merger suit, and successfully obtained full dismissal with
    prejudice and affirmance at the 9th Circuit.
x   Continental vs. Avanci et al.: Representation of a wireless connectivity patent portfolio company defending
    against high-profile monopolization, conspiracy, unfair competition, and breach of contract claims relating to
    purported FRAND obligations and joint licensing conduct.
x   Super Slam, Ltd. v. ATP Tour, Inc.: Representation of Owner/organizer of Madrid Open tennis tournament in
    dispute with Association of Tennis Professionals.
x   Ohio v. American Express: Representation of Discover Financial Services in Second Circuit and Supreme
    Court appeals with major industry implications.
x   MegaFon v. HPE: Representation of MegaFon, a major telecom operator in the Russian federation, in fraud
    claims relating to failure of key systems upgrade.
x   Global Cartel Defense: Representation of a major electronics manufacturer in multidistrict, putative class
    actions alleging conspiracies to fix prices of optical disk drives, lithium ion batteries, and capacitors.




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x   In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation: Representation of TreeHouse Foods,
    Inc., Bay Valley Foods, LLC, and Sturm Foods, Inc. in their antitrust lawsuit against Keurig Green Mountain,
    Inc. alleging anticompetitive exclusive dealing, conspiracy, monopolization, unfair competition, tying,
    anticompetitive product redesign, patent misuse, and sham litigation claims.

Other Relevant Experience:
x   Representation of a former pharmaceutical executive in an investigation of alleged violations of Food, Drug,
    and Cosmetics Act
x   Representation of defendant in an arbitration matter alleging breach of contract and antitrust
    monopolization claims based on alleged abuse of intellectual property rights
x   Representation of plaintiff SunLink Corporation in a contract dispute over solar construction development
x   Representation of defendant Kenwood Investments No. 2, LLC in California court in a motion to compel
    arbitration in complex contract dispute over development of tribal gaming casino

Pro Bono:
x   Equal Rights Amendment: Involved in the firm’s efforts to assist and support the ratification of the Equal
    Rights Amendment.
x   1983 Civil Rights litigation: Representation of a California inmate in civil rights claim against Richmond Police
    Department for assault during arrest. Conducted depositions of six police officers involved and leveraged
    effective discovery to five-figure settlement for client.
x   Board of Immigration Appeals matter: Representation of a Cameroonian immigrant in a successful appeal of
    an order denying withholding of removal based on threat of persecution based on sexual orientation.

EDUCATION
Jeanifer received her B.A. from the University of Michigan in 2006. She received her J.D. from Harvard Law
School in 2012.

ADMISSIONS
x   California

RECOGNITIONS
x   Global Competition Review—Named in “40 Under 40” honor roll (2024)
x   Chambers USA—Recognized as an “Up and Coming Practitioner” for Sports Law (2023–2024)
x   The Legal 500 US—Recognized as a “Key Lawyer” for Sports Law (2022–2024)
x   Best Lawyers: Ones to Watch® in America—Recognized for Antitrust Law and Litigation-Antitrust (2021–
    2023)
x   Lawdragon—
    x   “500 Leading Litigators in America”—Recognized for Complex Litigation, especially Antitrust, Sports
       and IP, and Appeals (2022–2025)
    x “500 X – The Next Generation”—Recognized for Antitrust & Competition (2024)
x   The Recorder—Named as a “Lawyer on the Fast Track” (2022)
x   Law360—Recognized as a “Sports & Betting Rising Star” (2022)
x   Benchmark Litigation US—“National Impact Case of the Year,” Alston v. NCAA (2022)



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x   Super Lawyers—Named a “Rising Star” (2020–2024)
x   Bloomberg Law—“They’ve Got Next: Antitrust Fresh Face” (2021)
x   AAI—Antitrust Award for Private Litigation for the work on the NCAA case (2019)
x   Winston & Strawn recognized with GCR’s 2022 “Litigation of the Year: Cartel Prosecution” award and
    “Matter of the Year” for Winston’s Supreme Court win in the NCAA Grant-In-Aid Cap antitrust litigation
x   Winston “Pro Bono Commitment to Service Award”

INSIGHTS & NEWS
x   "“Cartels: Can Software Programs Be a Hub for Collusion?,” GCR Live: Women in Antitrust, Panelist, Nov. 12,
    2024
x   "Women's Soccer: Equal Pay, Coaching Misconduct, Age Restrictions, Expansion, and the Lawyer’s Role in it
    All," The Sports Lawyers Association, Panelist, May 12, 2023
x   “Changing Landscape of NCAA Student-Athlete Compensation,” Notre Dame Law School, Speaker, Oct. 22,
    2021
x   “Because We’re Worth It: Powerful Progress on Pay Equity,” National Association of Women Lawyers Annual
    Meeting, July 22, 2021
x   “Alston in the Supreme Court,” ABA Antitrust Section, Speaker, Dec. 4, 2020
x   Berkeley Law Symposium on Employment Law & Sports, Speaker, March 6, 2020
x   “Equal Pay, Equal Play and the Equal Rights Amendment,” National Association of Women Lawyers Annual
    Meeting, Speaker, Nov. 7, 2019
x   Berkley Law Sports & Entertainment Law Conference, Speaker, April 5, 2019
x   Regular contributor to Winston & Strawn’s Competition Corner blog posts and podcast, featuring insights on
    recent legal developments in the antitrust arena as well as user-friendly guidance and practical tips for
    compliance.

ACTIVITIES
Jeanifer served on Law360’s 2022 Sports & Betting Editorial Advisory Board. Jeanifer is an active member of
the California Lawyers’ Association Antitrust & UCL Section and previously served as a California Young
Lawyers Association Liaison to the Antitrust & UCL Section.

EXPERIENCE
Secured Landmark Equal-Pay Settlement for Current and Former USWNT Members




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                                        sarguello@winston.com


Sofia focuses her practice on antitrust, sports, white collar criminal defense, and
corporate internal investigations. She regularly represents professional sports unions
and players in negotiations, arbitrations, and litigations involving contract,
sponsorship, intellectual property, and antitrust issues. She also has particular
experience advising clients on cross-border issues, and dealing with disputes and
investigations in Latin America.

In connection with antitrust matters, Sofia has acted as plaintiff and defense counsel in cases involving
monopolization, price-fixing, price discrimination, group boycotts, and other restraints of trade. She has also
defended clients in criminal investigations brought by the U.S. Department of Justice (DOJ) and international
competition authorities.
With respect to white collar and investigations, Sofia specializes in white collar and regulatory defense, with a
particular focus on FCPA and global investigations. She has extensive experience representing companies and
individuals in white collar investigations by the Securities and Exchange Commission (SEC) and the DOJ. She
has also conducted internal investigations responding to government or other allegations of FCPA, money
laundering, securities, and other law violations, and regularly provides compliance counseling and performs
due diligence regarding potential transactions, focusing on FCPA, anti-corruption, antitrust, and other potential
regulatory violations.

KEY MATTERS
x   Hubbard v. NCAA & Carter v. NCAA: Representing classes of collegiate players in antitrust litigations
    against the NCAA concerning its restraints on athlete compensation.
x   Represented Activision Blizzard in DOJ civil antitrust case, resulting in a favorable, no-civil-penalty
    settlement.
x   Represented William Morris Endeavor Entertainment in antitrust litigation against the Writers Guild of
    America.
x   Represented Zillow Group, Inc. and Zillow, Inc. in a litigation involving antitrust, consumer protection, and
    common law claims.




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x   In re Cathode Ray Tube (CRT) Antitrust Litigation — Represents Panasonic Corporation and Panasonic
    Corporation of North America in the multidistrict, putative class action involving the Cathode Ray Tube
    industry, currently consolidated in the Northern District of California.
x   In re Capacitors Antitrust Litigation — Represents Panasonic Corporation and Panasonic Corporation of
    North America in the multidistrict putative class action involving the Capacitors industry, currently
    consolidated in the Northern District of California.
x   Represented Nucor Corporation in an antitrust litigation concerning alleged conspiracy, price discrimination,
    and trade secret misappropriation.
x   Represented Panasonic Avionics Corporation in an antitrust litigation concerning alleged monopolization,
    group boycott, and trade libel.
x   Represented clients in connection with drafting and instituting compliance programs and providing training
    to employees.

EDUCATION
Sofia received a B.A., cum laude, in Political Science, Mathematics, and International Relations from the
University of Florida in 2008, where she received the Anderson Scholar of Highest Distinction. She earned a
J.D. from the University of Chicago Law School in 2011.

ADMISSIONS
x   New York

RECOGNITIONS
Sofia was recognized on Benchmark Litigation US’s “40 & Under List” for White Collar Crime (2023–2024). She
was listed in Best Lawyers: Ones to Watch in America in 2021 and 2022 in the areas of Antitrust Law and
Litigation–Antitrust. She was recognized in the 2023 edition for Criminal Defense: White Collar. She was
recognized by Legal 500 Latin America 2022 for her work in International Arbitration and The Legal 500 US as
a “Key Lawyer” in the area of Industry Focus: Sport. She was recognized in the 2021 “Women in the Law”
edition of Best Lawyers. She has also been recognized by Super Lawyers as a “New York Metro Rising Star” for
Antitrust Litigation (2017–2022). Winston & Strawn’s Sports Law group has been recognized by Best Law Firms®
as “Law Firm of the Year” in the Sports Law Practice from 2018–2022 and in 2024.

INSIGHTS & NEWS
x   “Football world cup: a blessing or a curse for clubs?,” IBA 2024 Annual Conference, Moderator, Sept. 16,
    2024
x   “General Antitrust Update,” TexasBarCLE’s 23rd Annual Course – Advanced In-House Counsel, Speaker,
    Aug. 30, 2024
x   Panoramic: Competition Compliance 2024, Lexology, Co-author, May 1, 2024
x   "Early Assessment of the Digital Markets Act," Winston & Strawn Competition Corner, Co-author, March 25,
    2024
x   "Antitrust Enforcement in Action: Insights from the Regulators," Winston & Strawn Competition Corner, Co-
    author, Dec. 15, 2023
x   Global Legal Insights – Cartels, USA Chapter, The GLI Cartels 2023, 11th ed., Co-author, May 12, 2023




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x   "Department of Commerce Calls for Change to Mobile App Stores," Winston & Strawn Competition Corner,
    Co-author, Feb. 10, 2023
x   "Federal Court Closes the Book on Publishers’ Attempted Merger," Winston & Strawn Competition Corner,
    Co-author, Jan. 20, 2023
x   "New Kids on the Blockchain: Antitrust Trends in Web3.0 and FashionTech," Women in Antitrust series,
    Winston & Strawn Competition Corner: Podcast, Co-host, Oct. 6, 2022
x   "Another Step Towards Increased Antitrust Enforcement in Labor Markets," Winston & Strawn Competition
    Corner, Co-author, July 27, 2022
x   Global Legal Insights – Cartels, USA Chapter, The GLI Cartels 2022, 10th ed., Co-author, May 19, 2022
x   "Boosting Immunity: DOJ Injects Additional Burden and Uncertainty to Antitrust Leniency Process," Winston
    & Strawn Competition Corner, Co-author, April 6, 2022
x   "Antitrust 101: A Quick Spin Through Hub-and-Spoke Conspiracies," Winston & Strawn Competition Corner,
    Co-author, Feb. 9, 2022
x   Global Legal Insights Cartels Laws and Regulations, Cartels 2021 USA, Co-author, April 23, 2021
x   “Pleading and Defending Coordinated Conduct Claims,” ABA Joint Conduct Committee, Speaker, Feb. 26,
    2021
x   “New Frontiers in ANA Section of Litigation, Speaker, May 1, 2019

ACTIVITIES
x   Current Events/Conference Officer, International Bar Association's North American Regional Forum (NARF)
x   Current Member, Antitrust Cartel and Criminal Enforcement Subcommittee for the NYSBA
x   Current Member, Hispanic National Bar Association
x   Current Member, Committee on Character and Fitness for the New York State Supreme Court, Appellate
    Division, First Department

EXPERIENCE
Secured New CBA Deal for NBA Players Following Round-the-Clock Negotiating Sessions with NBA
Secured High-Profile Acquittal at Trial for Matthew Grimes on Charges He Acted as an Unregistered Foreign
Agent




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Recognized as a “Rising Star” and “One to Watch,” Adam focuses his practice on sports,
antitrust, and labor law. He regularly counsels and represents athletes, agencies,
Players Associations, and other high-profile sports industry clients.

Adam counsels and represents a variety sports industry clients including Klutch Sports Group, MVP Sports
Group, Relevent Sports, WME | IMG (Endeavor), the Major League Baseball Players Association, the NBA
Players Association, the NFL Players Association, and several professional athletes, agents and agencies.
Additionally, he has negotiated nearly US$200M in guaranteed compensation for several top sports agents.
Adam is a strategic advisor for numerous other agents and agencies in the baseball, basketball, football,
hockey, and soccer industries on a variety of topics, including acquisitions and new business lines, employment
matters, athlete-agent laws, and name, image, and likeness (NIL) laws and regulations.
He was a key member of the Alston v. NCAA trial and appellate team that secured a landmark 9-0 victory in the
Supreme Court, striking down scores of NCAA rules that limited the education-related compensation and
benefits that colleges and universities may provide to FBS football and Division I Men’s and Women’s basketball
players. The team was honored with GCR’s 2022 “Litigation of the Year: Cartel Prosecution” award for their
unanimous Supreme Court victory.

KEY MATTERS
x   House v. NCAA: secured landmark $2.75 billion dollar back-pay damages settlement for hundreds of
    thousands of current and former college athletes that resolved three pending lawsuits challenging the
    NCAA’s limits on compensation and benefits that athletes can receive and opened the door for billions
    more in revenue sharing payments that will be shared with athletes going forward.
x   Alston v. NCAA: successfully represented a class of college football and basketball players in a landmark
    antitrust suit at trial, appeal and before the Supreme Court against the NCAA and ten member-conferences
    that struck down unlawful compensation restraints imposed by the NCAA on Division I Men’s and Woman’s
    basketball and FBS Football programs.




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x   Relevent Sports v. United States Soccer Federation and Fédération Internationale De Football Association
    (FIFA): represents soccer promoter Relevent Sports in a federal antitrust lawsuit seeking to enjoin the
    United States Soccer Federation from continuing to block official season international soccer matches from
    being played in the U.S.
x   Guden et al. v. Stanford University: secured a settlement reinstating eleven varsity sports at Stanford
    University that were scheduled to be discontinued following the 2020-21 school year.
x   USA National Sled (Paralympic) Hockey Team: served as lead negotiator on behalf of the members of the
    USA Paralympic Hockey Team to secure substantial increases in the players’ compensation and benefits
    from USA Hockey and the United States Olympic Committee.
x   Elliott v. NFL: served as counsel for Dallas Cowboys Running Back Ezekiel Elliott and the NFL Players
    Association in arbitration and federal court proceedings challenging the six-game suspension imposed on
    Elliott by the NFL for an alleged violation of the League’s Personal Conduct Policy.
x   Green Bay Packers v. Bennett: successfully represented NFL Tight End Martellus Bennett in an arbitration
    brought against him by his former Club, the Green Bay Packers, for alleged breach of the NFL Collective
    Bargaining Agreement.
x   Kerley v. San Francisco 49ers: Adam achieved complete victory for NFL Wide Receiver Jeremy Kerley in an
    arbitration against the San Francisco 49ers.
x   Major League Baseball Player Agent Arbitrations: Adam frequently represents high-profile Major League
    Baseball Player Agents and agencies in arbitrations before the MLBPA arbitration tribunal.

Adam maintains an active pro bono practice. He represented two clients serving life sentences for drug-related
crimes in their successful petitions to the President of the United States for sentence commutations. Adam also
successfully filed and argued a Habeas petition on behalf of a client to correct the Bureau of Prisons’
miscalculation of his client’s sentence. He negotiated a five-figure settlement for a state prison inmate in a civil
rights action and secured asylum for a transgender torture victim from Honduras.

In recognition of Adam’s commitment to pro bono he has received multiple Empire State Counsel Awards and
the Legal Aid Society Pro Bono Publico Award.

He received his J.D. from New York University School of Law in May 2015, where he was Senior Editor of
the Journal of Intellectual Property and Entertainment Law and the Chair of the NYU Sports Law Society. He
received a B.A. in Political Communication, cum laude, in May 2012 from The George Washington University.

EDUCATION
Adam received his J.D. from New York University School of Law in May 2015, where he was Senior Editor of
the Journal of Intellectual Property and Entertainment Law, the Chair of the NYU Sports Law Society, and
Advocate-in-Chief of the Suspension Representation Project. He received a B.A. in Political Communication,
cum laude, in May 2012 from The George Washington University.

ADMISSIONS
x   New York




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RECOGNITIONS
Adam has been recognized as a “Rising Star” in Sports Law by The Legal 500 U.S. in 2020-2024. He was also
named as one of the Best Lawyers: Ones to Watch® in America in Entertainment and Sports Law from 2022-
2025. In 2023, Adam was named to the inaugural Conduct Detrimental “10 Under 10” List, which honors ten
“next generation” sports law attorneys within ten years of law school graduation.
He is a core member of the firm’s Sports Law Group, which has been named among Law360’s Sports & Betting
Groups Of The Year in 2017 and 2020-2023 and in Best Law Firms® “Law Firm of the Year” in Sports Law in
2024.
Adam is part of the group recognized with GCR’s 2022 “Litigation of the Year: Cartel Prosecution” award for
their unanimous Supreme Court victory in Alston v. NCAA.
His other recognitions include:
x   Legal Aid Society New York—“Pro Bono Publico” award
x   Multiple Empire State Counsel Awards in recognition of Adam's commitment to pro bono

ACTIVITIES
Adam is the alumni advisor to the Sports Law Association at NYU, a member, and former Secretary, of New York
City Bar Committee on Sports Law and a member of the Sports Lawyers Association. He served as the Young
Lawyer Representative to the Trade, Sports & Professional Associations Committee of the American Bar
Association’s Antitrust Law Section.
Adam is a frequent speaker and guest lecturer on Sports Law, including at several law schools, podcasts, and
bar associations.

EXPERIENCE
Triumphed for Relevent Sports Before Second Circuit, Reviving Antitrust Suit Against FIFA, USSF




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                                        Robert Pannullo
                                        ASSOCIATE

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Recognized as a rising “New Voice” by Sports Business Journal, Robert focuses his
practice on sports, antitrust, and labor law. He regularly represents athletes, agencies,
Players Associations, and other high-profile sports industry clients in litigation and
arbitration.

Robert counsels and represents a variety of sports industry clients, including the NFL Players Association,
OneTeam Partners, WME | IMG (Endeavor), Klutch Sports Group, MVP Sports Group, individual player athletes,
and a global eSports League.
Robert also regularly represents the Major League Baseball Players Association (MLBPA) in litigation and
arbitration matters. In this capacity, Robert has advised in the contract valuation and negotiation for hundreds of
millions of dollars of MLB player contracts and has successfully argued numerous winner-take-all salary
arbitration cases on behalf of players.
Before joining Winston, Robert worked at the MLB Players Association, where he advised agents in contract
negotiations and argued salary arbitration cases on behalf of players. Robert also served as a judicial intern for
the Honorable Madeline Cox Arleo at the United States District Court for the District of New Jersey.

KEY MATTERS
x   NFLPA Commercial and Labor Arbitration: Robert has represented the NFLPA in commercial disputes
    governed by the American Arbitration Association as well as labor disputes under the NFL-NFLPA
    Collective Bargaining Agreement.
x   Job Creators Network v. Major League Baseball, et. al.: Robert successfully represented the MLBPA in
    litigation that challenged Major League Baseball’s decision to relocate the 2021 All-Star Game from Atlanta
    to Denver in response to Georgia’s laws imposing voting restrictions.
x   Major League Baseball Player Salary Arbitrations: Robert actively represents the MLBPA on salary
    arbitration matters where he advises player agents in salary negotiations and presents arbitration cases on
    behalf of MLB players.
x   Major League Baseball Player Agent Arbitrations: Robert has represented several high-profile baseball
    agents and agencies in arbitrations and investigations under the MLBPA’s Regulations Governing Player
    Agents.



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x   MLB-MLBPA Grievance Arbitration: Robert has represented the MLBPA in grievances under the MLB-
    MLBPA Basic Agreement.
x   MLB Players Inc. v. DraftKings et al & MLB Players Inc. v. Underdog Sports et al: Robert represents MLB
    Players Inc. in litigation against numerous sports gambling companies related to the misappropriation of
    MLB players’ rights of publicity.
x   Porter v. National Football League Players Association: Robert successfully represented the NFLPA in
    litigation challenging conduct arising under the Union’s Regulations Governing Contract Advisors.
x   Hubbard et al. v. National Collegiate Athletic Association, et al.: Robert represents a putative class of
    current and former college athletes in antitrust litigation against the NCAA related to restraints on
    compensation for academic achievements.
x   Olympic Athlete Counseling: Robert counseled a gold-medal Olympic skier in her return to competition
    pursuant to governing domestic and international regulations.
x   Labor and Employment Counseling: Robert has counseled numerous companies in employment litigations,
    arbitrations, and mediations.

Robert also maintains an active pro bono practice, where he has represented a non-profit organization
advocating for the rights of Minor League Baseball Players, a client seeking asylum in the United States, and a
client in a New York State criminal defense action.

EDUCATION
Robert received his J.D., cum laude, from Fordham University School of Law, where he was the Managing Editor
of the Fordham Sports Law Forum and a member of the Urban Law Journal. He received his B.S., in Industrial
and Labor Relations from Cornell University, where he was a member of the Varsity Baseball and Varsity Sprint
Football teams.

ADMISSIONS
x   New York

RECOGNITIONS
x   In 2023, Robert was selected as one of Sports Business Journal’s 30 “New Voices Under 30,” which honors
    “the rising generation of sports business leaders, dealmakers and influencers across the industry.”
x   Robert is a key member of the Winston team recognized as Law360’s Sports “Practice Group of the Year” in
    (2021, 2022, 2023) and Best Law Firms® “Law Firm of the Year” in Sports Law (2024).
x   While at Fordham Law School, Robert earned the Addison M. Metcalf Labor Law Prize and the Donald J.
    Feerick Prize in Labor Law. He also received the Archibald R. Murray Public Service Award for his work as a
    mediator in Fordham’s Mediation Clinic.

INSIGHTS & NEWS

Publications
x   Facilitating Change: Addressing the Underutilization of Mediation in Professional Sports, Harvard
    Negotiation Law Review, Fall 2019




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x   The Struggle for Labor Equality in Minor League Baseball: Exploring Unionization, American Bar
    Association Journal of Labor & Employment Law, Fall 2020

Speaking Engagements
x   “Practicing In-House at a Players Association,” New York City Bar Association, Sports Law Labor
    Subcommittee, Moderator, May, 2024
x   “The MLB Antitrust Exemption,” 27thAnnual Fordham Sports Law Symposium, Panelist, Mar., 2024
x   “MLB Salary Arbitration with Practitioners in the Industry,” New York City Bar Association, Sports Law Labor
    Subcommittee, Panelist, Mar., 2023

ACTIVITIES
Robert is a member of the Sports Lawyers Association and the New York City Bar Sports Law Committee. He
also serves on the Board of Advisors for Fordham Law School’s Sports Law Forum. Rob regularly speaks on
panels and judges law school competitions, including Fordham Law School's National Basketball Negotiation
Competition.




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                                       Whitney Williams
                                       ASSOCIATE
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Whitney is an associate who has experience in employment, labor, and sports law.

Whitney has extensive litigation and case management experience that includes developing offensive and
defensive discovery strategies, preparing witnesses to provide key testimony, negotiating settlements, and
drafting and arguing dispositive motions. She also has experience representing talent in arbitration hearings
regarding contractual disputes, interpretation and enforcement of collective bargaining agreements, and
intellectual property concerns.
Prior to joining Winston, Whitney was an associate at a global boutique labor and employment law firm. During
and after law school, Whitney served as a judicial extern for the Honorable André Birotte Jr. of the United States
District Court for the Central District of California.

EDUCATION
Whitney received her J.D. from Pepperdine University School of Law in 2020, where she was a member of
Black Law Students’ Association and OUTLaw. She was also an associate editor of the Pepperdine Law Review
and a member of the Phi Delta Phi Legal Honor Society. She received her B.A. in political science from
Pepperdine University in 2017.

ADMISSIONS
x   California

ACTIVITIES
x   Sports Lawyers Association
x   Black Entertainment and Sports Lawyers Association
x   Black Women Lawyers Association of Los Angeles
x   Langston Bar Association
x   National LGBTQ+ Bar Association
x   LGBT Bar Association of Los Angeles
x   U.S. Bank Spotlight on Talent Program




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                                       Nick Sloan
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                                       nsloan@winston.com


Nick is a litigator who focuses his practice on antitrust, labor and employment, and
sports matters.

Nick is a former Winston summer associate with a background in sports law. Prior to law school, Nick worked as
a Manager, Special Projects for the National Basketball Players Association (NBPA) where he helped develop
and implement player assistance programs, advocated for players in disciplinary appeals and grievances, and
conducted strategic planning for the NBPA’s Business Development and Grassroots Basketball Department.

EDUCATION
Nick earned his J.D. from New York University School of Law in 2023. While in law school, he was a staff editor
for the Journal of Intellectual Property and Entertainment Law, co-president of the Sports Law Association,
member of the Intellectual Property and Entertainment Law Society, and legal intern for the National Basketball
Players Association. Nick also served as the student member secretary for the Transactional Subcommittee of
the New York City Bar Association Sports Law Committee. Nick received his B.A., cum laude, in government
and psychology from Georgetown University in 2016.

ADMISSIONS
x   New York

ACTIVITIES
x   New York City Bar Association Sports Law Committee




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